 EXHIBIT A

Proposed Order
                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF DELAWARE

                                                              Chapter 11
    In re:
                                                              Case No. 20-11568 (KBO)
    RS FIT NW LLC,

                              Reorganized Debtor.1


       ORDER SUSTAINING THE REORGANIZED COMPANY’S THIRTY-NINTH
    (SUBSTANTIVE) OMNIBUS OBJECTION TO CERTAIN NO LIABILITY CLAIMS

         Upon the Reorganized Company’s Thirty-Ninth (Substantive) Omnibus Objection To

Certain No Liability Claim, dated March 1, 2022 (the “Objection”),2 of RS FIT NW LLC in the

above-captioned chapter 11 case (the “Reorganized Debtor”), and All Day Holdings LLC (together

with the Reorganized Debtor, the “Reorganized Company”), pursuant to section 502 of title 11 of

the United States Code (the “Bankruptcy Code”), Rule 3007 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and Rule 3007-1 of the Local Rules of Bankruptcy Practice

and Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local

Rules”), for entry of an order disallowing and expunging certain Proofs of Claim, all as more fully

set forth in the Objection; and upon consideration of the Paykin Declaration; and this Court having

jurisdiction to consider the Objection and the relief requested therein pursuant to 28 U.S.C. §§ 157

and 1334, and the Amended Standing Order of Reference from the United States District Court for

the District of Delaware dated February 29, 2012; and consideration of the Objection and the

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     The Reorganized Debtor in this chapter 11 case, along with the last four digits of the Reorganized Debtor’s federal
     tax identification number, as applicable, is RS FIT NW LLC (9372). By order dated March 16, 2021 [RS FIT
     Docket No. 7], the remaining debtor affiliates’ (the “Reorganized Debtors”) chapter 11 cases were closed. The
     Reorganized Debtors’ corporate headquarters and service address is 24 Hour Fitness USA, Inc., 1265 Laurel Tree
     Lane, Carlsbad, CA 92011.
2
     Capitalized terms used but not otherwise herein defined shall have the meanings ascribed to such terms in the
     Objection.
requested relief being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper

before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the

Objection having been provided to the parties listed therein, and it appearing that no other or

further notice need be provided; and this Court having reviewed the Objection; and this Court

having determined that the legal and factual bases set forth in the Objection establish just cause

for the relief granted herein; and it appearing that the relief requested in the Objection is in the best

interests of the Reorganized Company, the Reorganized Debtors, the Debtors’ estates, creditors,

and all parties in interest; and upon all of the proceedings had before the Court and after due

deliberation and sufficient cause appearing therefor,

                IT IS HEREBY ORDERED THAT:

        1.      The Objection is granted as provided herein.

        2.      Pursuant to section 502 of the Bankruptcy Code, Bankruptcy Rule 3007, and Local

Rule 3007-1, each No Liability Claim listed on Schedule 1 annexed hereto is disallowed and

expunged in its entirety.

        3.      This Order has no res judicata, estoppel, or other effect on the validity, allowance,

or disallowance of any claim referenced and/or identified in the Objection that is not listed on

Schedule 1 annexed hereto, and all rights to object to or defend against such claims on any basis

are expressly reserved.

        4.      Should one or more of the grounds of objection stated in the Objection be

dismissed, the Reorganized Company’s rights to object on any other grounds that the Reorganized

Company discovers during the pendency of this chapter 11 case is preserved.




                                                   2
         5.    Each of the No Liability Claims and the objections by the Reorganized Company

to such claims, as set forth on Schedule 1 hereto, constitutes a separate contested matter as

contemplated by Bankruptcy Rule 9014 and Local Rule 3007-1. This Order shall be deemed a

separate Order with respect to each such No Liability Claim. Any stay of this Order pending

appeal by any claimants whose claims are subject to this Order shall only apply to the contested

matter which involves such claimant and shall not act to stay the applicability and/or finality of

this Order with respect to the other contested matters listed in the Objection or this Order.

         6.    The Reorganized Company and the Debtors’ claims and noticing agent, Prime

Clerk LLC, and the Clerk of this Court are authorized to take all steps necessary or appropriate to

carry out this Order.

         7.    This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation, interpretation, or enforcement of this Order.



Dated:                          , 2022
         Wilmington, Delaware

                                            THE HONORABLE KAREN B. OWENS
                                            UNITED STATES BANKRUPTCY JUDGE




                                                 3
  SCHEDULE 1

No Liability Claims
Schedule 1 - Thirty Ninth Omnibus Objection
RS FIT NW, LLC (Remaining Case) (f/k/a 24 Hour Fitness Worldwide, Inc., et al.)
Substantive No Liability Claims
                                                                                                                        Date Claim    Claim                                                       Asserted Claim Amount
No.                    Name of Claimant                          Case Number               Debtor's Name                                                                                                                                                                                                                  Reason for Disallowance
                                                                                                                          Filed      Number
                                                                                                                                              Secured       Status Admin       Status 503(b)(9)           Status Priority              Status Unsecured           Status Total
                                                                                                                                                                                                                                                                                                 Claimant has not obtained a judgment on the claim and has not moved to
 1    Agishian, Marissa                                    20–11561 (KBO)         24 Hour Fitness USA, Inc.             10/2/2020    23848              -     -            -     -                    -     -                    -      -          2,000,000.00     -             2,000,000.00   liquidate the claim.
 2    Aguiar, Laura                                        20–11558 (KBO)         24 Hour Fitness Worldwide, Inc.       9/16/2020    14626              -     -            -     -                    -     -               1,541.00    -                   -       -                 1,541.00   There is no basis for the claim in the Debtor's books and records.
 3    Ajimura, Scott H                                     20–11560 (KBO)         24 Hour Fitness United States, Inc.   7/22/2020    1980               -     -            -     -                    -     -               1,343.00    -                   -       -                 1,343.00   There is no basis for the claim in the Debtor's books and records.
 4    Alridge, Marion Brandon                              20–11558 (KBO)         24 Hour Fitness Worldwide, Inc.       9/7/2020     9953               -     -            -     -                    -     -               1,200.00    U                   -       -                 1,200.00   There is no basis for the claim in the Debtor's books and records.
                                                                                                                                                                                                                                                                                                 Claimant has not obtained a judgment on the claim and has not moved to
 5    Ameral, Donald                                       20–11560 (KBO)         24 Hour Fitness United States, Inc.   10/1/2020    22206              -     -            -     -                    -     -                   -        -                  -      C,U                    -      liquidate the claim.
                                                                                                                                                                                                                                                                                                 Claimant has not obtained a judgment on the claim and has not moved to
 6    Ameral, Donald                                       20–11558 (KBO)         24 Hour Fitness Worldwide, Inc.       10/1/2020    21420              -     -            -     -                    -     -                   -        -                  -      C,U                    -      liquidate the claim.
                                                                                                                                                                                                                                                                                                 Claimant has not obtained a judgment on the claim and has not moved to
 7    Ameral, Donald                                       20–11561 (KBO)         24 Hour Fitness USA, Inc.             10/2/2020    20811              -     -            -     -                    -     -                   -        -                  -      C,U                    -      liquidate the claim.
                                                                                                                                                                                                                                                                                                 Claimant has not obtained a judgment on the claim and has not moved to
 8 ANDRANGO, GLADYS                                        20–11561 (KBO)         24 Hour Fitness USA, Inc.              9/23/2020   18541              -     -            -     -                    -     -                    -       -           500,000.00     -              500,000.00    liquidate the claim.
 9 Baskett, Lynn H.                                        20–11558 (KBO)         24 Hour Fitness Worldwide, Inc.        9/28/2020   19591              -     -            -     -                    -     -               1,328.40     -             1,238.40     -                2,566.80    There is no basis for the claim in the Debtor's books and records.
10 Batirev, Nadia                                          20–11558 (KBO)         24 Hour Fitness Worldwide, Inc.       10/13/2020   25432              -     -            -     -                    -     -               1,424.00     -                 4.00     -                1,428.00    There is no basis for the claim in the Debtor's books and records.
                                                                                                                                                                                                                                                                                                 Claimant has not obtained a judgment on the claim and has not moved to
11 Bazan, Rosa                                             20–11560 (KBO)         24 Hour Fitness United States, Inc.   9/21/2020    16816              -     -            -     -                    -     -                    -       -                  -      C,U                     -     liquidate the claim.
12 Beardall, Jennifer                                      20–11560 (KBO)         24 Hour Fitness United States, Inc.   8/26/2020    3551               -     -            -     -                    -     -               1,500.00     -                  -        -                1,500.00   There is no basis for the claim in the Debtor's books and records.
13 Bernard, Sebastien                                      20–11561 (KBO)         24 Hour Fitness USA, Inc.             2/7/2021     27374              -     -            -     -                    -     -                 966.00     -                  -        -                  966.00   There is no basis for the claim in the Debtor's books and records.
                                                                                                                                                                                                                                                                                                 Claimant has not obtained a judgment on the claim and has not moved to
14    Berry, Mark                                          20–11561 (KBO)         24 Hour Fitness USA, Inc.             10/2/2020    24045              -     -            -     -                    -     -                    -       -                  -      C,U                     -     liquidate the claim.
15    Bido, Soraya                                         20–11558 (KBO)         24 Hour Fitness Worldwide, Inc.       7/16/2020    1778               -     -            -     -                    -     -               1,500.00     -                  -        -                1,500.00   There is no basis for the claim in the Debtor's books and records.
16    Bishop, Dianne Marie                                 20–11558 (KBO)         24 Hour Fitness Worldwide, Inc.       10/1/2020    23382              -     -            -     -                    -     -               1,440.00     -                  -        -                1,440.00   There is no basis for the claim in the Debtor's books and records.
17    Borchard, Nicole                                     20–11558 (KBO)         24 Hour Fitness Worldwide, Inc.       10/3/2020    20915              -     -            -     -                    -     -               1,163.98     -                  -        -                1,163.98   There is no basis for the claim in the Debtor's books and records.
18    Brown, Barbara                                       20–11558 (KBO)         24 Hour Fitness Worldwide, Inc.       9/4/2020     7840               -     -            -     -                    -     -               1,290.00     -                  -        -                1,290.00   There is no basis for the claim in the Debtor's books and records.
                                                                                                                                                                                                                                                                                                 Claimant has not obtained a judgment on the claim and has not moved to
19 Byrne, Jake                                             20–11558 (KBO)         24 Hour Fitness Worldwide, Inc.       12/26/2020   27166              -     -            -     -                    -     -                    -       -                  -      C,U                     -     liquidate the claim.
20 Cai, Wei                                                20–11558 (KBO)         24 Hour Fitness Worldwide, Inc.        10/2/2020   23092              -     -            -     -                    -     -               1,005.00     -                  -        -                1,005.00   There is no basis for the claim in the Debtor's books and records.
21 CAMPOS, ESTEBAN                                         20–11558 (KBO)         24 Hour Fitness Worldwide, Inc.        9/29/2020   21195              -     -            -     -                    -     -               1,500.00     -                  -        -                1,500.00   There is no basis for the claim in the Debtor's books and records.
                                                                                                                                                                                                                                                                                                 Claimant has not obtained a judgment on the claim and has not moved to
22    Cantena, Karen                                       20–11561 (KBO)         24 Hour Fitness USA, Inc.             10/1/2020    23021              -     -            -     -                    -     -                    -       -           200,000.00     U              200,000.00    liquidate the claim.
23    Carlson, Pat                                         20–11558 (KBO)         24 Hour Fitness Worldwide, Inc.       9/9/2020     11466              -     -            -     -                    -     -               1,260.00     -                  -       -                1,260.00    There is no basis for the claim in the Debtor's books and records.
24    Carraway, Kristine                                   20–11561 (KBO)         24 Hour Fitness USA, Inc.             8/4/2020     2660               -     -            -     -                    -     -               1,418.76     -                  -       -                1,418.76    There is no basis for the claim in the Debtor's books and records.
25    Cheney, Elizabeth L                                  20–11560 (KBO)         24 Hour Fitness United States, Inc.   9/9/2020     10974              -     -            -     -                    -     -               1,500.00     -                  -       -                1,500.00    There is no basis for the claim in the Debtor's books and records.
26    Choi, Helen                                          20–11558 (KBO)         24 Hour Fitness Worldwide, Inc.       10/1/2020    20142              -     -            -     -                    -     -               1,541.00     -                  -       -                1,541.00    There is no basis for the claim in the Debtor's books and records.
27    CLANON, PAUL                                         20–11561 (KBO)         24 Hour Fitness USA, Inc.             9/30/2020    18818              -     -            -     -                    -     -               1,450.00     -                  -       -                1,450.00    There is no basis for the claim in the Debtor's books and records.
28    Crandell, Linda                                      20–11561 (KBO)         24 Hour Fitness USA, Inc.             9/4/2020     8750               -     -            -     -                    -     -               1,060.00     -                  -       -                1,060.00    There is no basis for the claim in the Debtor's books and records.
                                                                                                                                                                                                                                                                                                 Claimant has not obtained a judgment on the claim and has not moved to
29 Croom, Zsaquez                                          20–11561 (KBO)         24 Hour Fitness USA, Inc.             10/5/2020    25018              -     -            -     -                    -     -                   -        -                  -      C,U                    -      liquidate the claim.
                                                                                                                                                                                                                                                                                                 Claimant has not obtained a judgment on the claim and has not moved to
30    Croom, Zsaquez                                       20–11561 (KBO)         24 Hour Fitness USA, Inc.             10/1/2020    19899              -     -            -     -                    -     -                    -       -                  -      C,U                     -     liquidate the claim.
31    Cui, Dongmiao                                        20–11562 (KBO)         24 Hour Fitness Holdings LLC          11/9/2020    26280              -     -            -     -                    -     -               1,380.00     -                  -        -                1,380.00   There is no basis for the claim in the Debtor's books and records.
32    Davidov, Eran                                        20–11563 (KBO)         24 San Francisco LLC                  9/6/2020     9480               -     -            -     -                    -     -               1,380.00     -                  -        -                1,380.00   There is no basis for the claim in the Debtor's books and records.
33    Dodson, Steven Odell                                 20–11558 (KBO)         24 Hour Fitness Worldwide, Inc.       9/8/2020     11076              -     -            -     -                    -     -               1,400.00     -                  -        -                1,400.00   There is no basis for the claim in the Debtor's books and records.
                                                                                                                                                                                                                                                                                                 Claimant has not obtained a judgment on the claim and has not moved to
34 Donlin, Rhonda                                          20–11558 (KBO)         24 Hour Fitness Worldwide, Inc.       10/6/2020    25042              -     -            -     -                    -     -                   -        -           450,000.00     -              450,000.00    liquidate the claim.
35 Du, Odette                                              20–11558 (KBO)         24 Hour Fitness Worldwide, Inc.       10/1/2020    22128              -     -            -     -                    -     -                996.00      -                  -       -                  996.00    There is no basis for the claim in the Debtor's books and records.
                                                                                                                                                                                                                                                                                                 Claimant has not obtained a judgment on the claim and has not moved to
36    Duarte, Arturo                                       20–11561 (KBO)         24 Hour Fitness USA, Inc.             8/5/2020     2081               -     -            -     -                    -     -                    -       -                  -      C,U                     -     liquidate the claim.
37    Dubois, Paul F.                                      20–11558 (KBO)         24 Hour Fitness Worldwide, Inc.       9/17/2020    16061              -     -            -     -                    -     -               1,400.00     -                  -        -                1,400.00   There is no basis for the claim in the Debtor's books and records.
38    Dunn, Louisa                                         20–11558 (KBO)         24 Hour Fitness Worldwide, Inc.       9/5/2020     9475               -     -            -     -                    -     -                 960.00     -                  -        -                  960.00   There is no basis for the claim in the Debtor's books and records.
39    Elsenheimer, Rebecca J                               20–11558 (KBO)         24 Hour Fitness Worldwide, Inc.       9/30/2020    20882              -     -            -     -                    -     -               1,438.11     -                  -        -                1,438.11   There is no basis for the claim in the Debtor's books and records.
                                                                                                                                                                                                                                                                                                 Claimant has not obtained a judgment on the claim and has not moved to
40 Esparza, Jaqueline                                      20–11558 (KBO)         24 Hour Fitness Worldwide, Inc.       10/26/2020   25973              -     -            -     -                    -     -                   -        -           500,000.00     U              500,000.00    liquidate the claim.
                                                                                                                                                                                                                                                                                                 Claimant has not obtained a judgment on the claim and has not moved to
41 Esparza, Jaqueline                                      20–11558 (KBO)         24 Hour Fitness Worldwide, Inc.       10/26/2020   25973              -     -            -     -                    -     -                    -       -           500,000.00     U              500,000.00    liquidate the claim.
42 Farahnaz Akhavan for Paya Farahanchi                    20–11560 (KBO)         24 Hour Fitness United States, Inc.    9/24/2020   18450              -     -            -     -                    -     -               1,400.00     -                  -       -                1,400.00    There is no basis for the claim in the Debtor's books and records.
                                                                                                                                                                                                                                                                                                 Claimant has not obtained a judgment on the claim and has not moved to
43    Feinblatt-Grushka, Susan                             20–11561 (KBO)         24 Hour Fitness USA, Inc.             10/1/2020    21587              -     -            -     -                    -     -                    -       -         1,000,000.00     -             1,000,000.00   liquidate the claim.
44    Fickett, Patricia                                    20–11558 (KBO)         24 Hour Fitness Worldwide, Inc.       9/30/2020    22108              -     -            -     -                    -     -                 972.00     -                  -       -                   972.00   There is no basis for the claim in the Debtor's books and records.
45    Floyd, Shayne                                        20–11558 (KBO)         24 Hour Fitness Worldwide, Inc.       10/1/2020    20689              -     -            -     -                    -     -               1,300.00     -                  -       -                 1,300.00   There is no basis for the claim in the Debtor's books and records.
46    FRANCO, NATALIA                                      20–11564 (KBO)         24 New York LLC                       10/1/2020    21447              -     -            -     -                    -     -               1,425.00     -                  -       -                 1,425.00   There is no basis for the claim in the Debtor's books and records.
                                                                                                                                                                                                                                                                                                 Claimant has not obtained a judgment on the claim and has not moved to
47 Gasparian, Rita                                         20–11558 (KBO)         24 Hour Fitness Worldwide, Inc.       10/1/2020    21585              -     -            -     -                    -     -                   -        -           350,000.00     U              350,000.00    liquidate the claim.
                                                                                                                                                                                                                                                                                                 Claimant has not obtained a judgment on the claim and has not moved to
48 Gee, Alicia B                                           20–11558 (KBO)         24 Hour Fitness Worldwide, Inc.        1/4/2021    27205              -     -            -     -                    -     -                   -       C,U                 -       -                     -      liquidate the claim.
                                                                                                                                                                                                                                                                                                 Claimant has not obtained a judgment on the claim and has not moved to
49 GERNSHTEYN, SERGE                                       20–11562 (KBO)         24 Hour Fitness Holdings LLC          10/2/2020    23200              -     -            -     -                    -     -                    -       -         1,000,000.00     -             1,000,000.00   liquidate the claim.
50 Glavis, Greta                                           20–11558 (KBO)         24 Hour Fitness Worldwide, Inc.       9/11/2020    12737              -     -            -     -                    -     -               1,541.00     -                  -       -                 1,541.00   There is no basis for the claim in the Debtor's books and records.
                                                                                                                                                                                                                                                                                                 Claimant has not obtained a judgment on the claim and has not moved to
51 Golden, Richard N.                                      20–11558 (KBO)         24 Hour Fitness Worldwide, Inc.       9/21/2020    16987              -     -            -     -                    -     -                    -       -           500,000.00     -              500,000.00    liquidate the claim.
52 Goldsmith, Charles I                                    20–11561 (KBO)         24 Hour Fitness USA, Inc.             9/29/2020    21444              -     -            -     -                    -     -               1,315.80     -                  -       -                1,315.80    There is no basis for the claim in the Debtor's books and records.
53 Goldsmith, Marian R.                                    20–11561 (KBO)         24 Hour Fitness USA, Inc.             9/28/2020    19704              -     -            -     -                    -     -               1,393.00     -                  -       -                1,393.00    There is no basis for the claim in the Debtor's books and records.
                                                                                                                                                                                                                                                                                                 Claimant has not obtained a judgment on the claim and has not moved to
54    Gomez, John Harris                                   20–11561 (KBO)         24 Hour Fitness USA, Inc.             10/2/2020    24191              -     -            -     -                    -     -                    -       -        10,000,000.00     -            10,000,000.00   liquidate the claim.
55    Goradia, Keval Bhavesh                               20–11558 (KBO)         24 Hour Fitness Worldwide, Inc.       9/16/2020    14672              -     -            -     -                    -     -                 984.06     -                  -       -                   984.06   There is no basis for the claim in the Debtor's books and records.
56    Gordon, Laura                                        20–11558 (KBO)         24 Hour Fitness Worldwide, Inc.       9/21/2020    16621              -     -            -     -                    -     -               1,049.23     -                  -       -                 1,049.23   There is no basis for the claim in the Debtor's books and records.
57    Hale, Sharon J                                       20–11561 (KBO)         24 Hour Fitness USA, Inc.             8/12/2020    3088               -     -            -     -                    -     -               1,440.00     -                  -       -                 1,440.00   There is no basis for the claim in the Debtor's books and records.
                                                                                                                                                                                                                                                                                                 Claimant has not obtained a judgment on the claim and has not moved to
58 Harrison, Alrad                                         20–11561 (KBO)         24 Hour Fitness USA, Inc.             9/25/2020    19138              -     -            -     -                    -     -                   -        -           990,000.00     U              990,000.00    liquidate the claim.
                                                                                                                                                                                                                                                                                                 Claimant has not obtained a judgment on the claim and has not moved to
59 Harrison, Alrad                                         20–11561 (KBO)         24 Hour Fitness USA, Inc.             9/25/2020    19138              -     -            -     -                    -     -                    -       -           990,000.00     U              990,000.00    liquidate the claim.
60 Hollman, Stephen N.                                     20–11561 (KBO)         24 Hour Fitness USA, Inc.             10/2/2020    20541              -     -            -     -                    -     -               1,455.00     -                  -       -                1,455.00    There is no basis for the claim in the Debtor's books and records.
61 Howseman, Erin M                                        20–11560 (KBO)         24 Hour Fitness United States, Inc.   7/13/2020    1454               -     -            -     -                    -     -               1,437.26     -                  -       -                1,437.26    There is no basis for the claim in the Debtor's books and records.
                                                                                                                                                                                                                                                                                                 Claimant has not obtained a judgment on the claim and has not moved to
62 Joslin, Audra                                           20–11558 (KBO)         24 Hour Fitness Worldwide, Inc.       9/29/2020    21856              -     -            -     -                    -     -                    -       -                  -      C,U                     -     liquidate the claim.
63 Khazi, Parwiz A                                         20–11558 (KBO)         24 Hour Fitness Worldwide, Inc.       9/10/2020    11864              -     -            -     -                    -     -               1,443.00     -                  -        -                1,443.00   There is no basis for the claim in the Debtor's books and records.




                                                                                                                                                                                        Page 1 of 2
Schedule 1 - Thirty Ninth Omnibus Objection
RS FIT NW, LLC (Remaining Case) (f/k/a 24 Hour Fitness Worldwide, Inc., et al.)
Substantive No Liability Claims
                                                                                                                           Date Claim    Claim                                                          Asserted Claim Amount
No.                     Name of Claimant                         Case Number                  Debtor's Name                                                                                                                                                                                                                      Reason for Disallowance
                                                                                                                             Filed      Number
                                                                                                                                                 Secured       Status Admin       Status 503(b)(9)              Status Priority               Status Unsecured           Status Total
                                                                                                                                                                                                                                                                                                        Claimant has not obtained a judgment on the claim and has not moved to
64 Kieffer, Sheryl                                         20–11561 (KBO)            24 Hour Fitness USA, Inc.             9/21/2020    17059              -     -            -     -                       -     -                     -       -         1,000,000.00     -             1,000,000.00   liquidate the claim.
                                                                                                                                                                                                                                                                                                        Claimant has not obtained a judgment on the claim and has not moved to
65 Kieffer, Stephen                                        20–11561 (KBO)            24 Hour Fitness USA, Inc.             9/21/2020    17060              -     -            -     -                       -     -                     -       -         1,000,000.00     -             1,000,000.00   liquidate the claim.
                                                                                                                                                                                                                                                                                                        Claimant has not obtained a judgment on the claim and has not moved to
66 Konoian, Anastasia A.                                   20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.       9/25/2020    19028              -     -            -     -                       -     -                     -       -                  -      C,U                     -     liquidate the claim.
67 Lomeli, Ricky                                           20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.       7/28/2020    2769               -     -            -     -                       -     -                1,260.00     -                  -        -                1,260.00   There is no basis for the claim in the Debtor's books and records.
68 Maggin, Jeremy                                          20–11560 (KBO)            24 Hour Fitness United States, Inc.   7/20/2020    1535               -     -            -     -                       -     -                1,440.00     -                  -        -                1,440.00   There is no basis for the claim in the Debtor's books and records.
                                                                                                                                                                                                                                                                                                        Claimant has not obtained a judgment on the claim and has not moved to
69    Malveaux, Troy                                       20–11561 (KBO)            24 Hour Fitness USA, Inc.             9/21/2020    15884              -     -            -     -                       -     -                     -       -           250,000.00     U              250,000.00    liquidate the claim.
70    Mandel, Denise                                       20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.       9/23/2020    18342              -     -            -     -                       -     -                  984.00     -                  -       -                  984.00    There is no basis for the claim in the Debtor's books and records.
71    Marcom, Margaret                                     20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.       9/4/2020     9169               -     -            -     -                       -     -                1,273.00     -                  -       -                1,273.00    There is no basis for the claim in the Debtor's books and records.
72    Markopoulos, Andrea                                  20–11560 (KBO)            24 Hour Fitness United States, Inc.   9/19/2020    15419              -     -            -     -                       -     -                1,439.90     -                  -       -                1,439.90    There is no basis for the claim in the Debtor's books and records.
73    Marshall, Deborah D.                                 20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.       9/19/2020    15663              -     -            -     -                       -     -                1,462.86     -                  -       -                1,462.86    There is no basis for the claim in the Debtor's books and records.
                                                                                                                                                                                                                                                                                                        Claimant has not obtained a judgment on the claim and has not moved to
74 Martinez, Ana                                           20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.       10/16/2020   25651              -     -            -     -                       -     -                     -       -         1,500,000.00     -             1,500,000.00   liquidate the claim.
                                                                                                                                                                                                                                                                                                        Claimant has not obtained a judgment on the claim and has not moved to
75 McPherson, Christina                                    20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.       10/2/2020    23350              -     -            -     -                       -     -                     -       -           250,000.00     U              250,000.00    liquidate the claim.
                                                                                                                                                                                                                                                                                                        Claimant has not obtained a judgment on the claim and has not moved to
76    Mitchell, Dorothy                                    20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        9/22/2020   18178              -     -            -     -                       -     -                     -       -                  -      C,U                     -     liquidate the claim.
77    Nikolay, Zimonov                                     20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        8/28/2020   3815               -     -            -     -                       -     -                1,407.00     -                  -        -                1,407.00   There is no basis for the claim in the Debtor's books and records.
78    Noah, Ruth A.                                        20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        10/2/2020   24534              -     -            -     -                       -     -                1,275.00     -                  -        -                1,275.00   There is no basis for the claim in the Debtor's books and records.
79    O'Brien, Timothy                                     20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        7/14/2020   1644               -     -            -     -                       -     -                1,440.00     -                  -        -                1,440.00   There is no basis for the claim in the Debtor's books and records.
80    Ontiveros, Irene A                                   20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.       11/20/2020   26598              -     -            -     -                       -     -                1,340.00     -                  -        -                1,340.00   There is no basis for the claim in the Debtor's books and records.
                                                                                                                                                                                                                                                                                                        Claimant has not obtained a judgment on the claim and has not moved to
81    Parents of D.W. a minor                              20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.       9/29/2020    18935              -     -            -     -                       -     -                     -       -            75,000.00     U               75,000.00    liquidate the claim.
82    Pascual Urbano, Luis A                               20–11561 (KBO)            24 Hour Fitness USA, Inc.             7/15/2020    1719               -     -            -     -                       -     -                1,464.00     -                  -       -                1,464.00    There is no basis for the claim in the Debtor's books and records.
83    Pigott, Barbara                                      20–11561 (KBO)            24 Hour Fitness USA, Inc.             9/9/2020     11669              -     -            -     -                       -     -                1,360.00     -                  -       -                1,360.00    There is no basis for the claim in the Debtor's books and records.
84    Pineda, Andrea E.                                    20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.       8/27/2020    3967               -     -            -     -                       -     -                1,053.65     -                  -       -                1,053.65    There is no basis for the claim in the Debtor's books and records.
                                                                                                                                                                                                                                                                                                        Claimant has not obtained a judgment on the claim and has not moved to
85 Prystupa, Jeffrey                                       20–11565 (KBO)            24 Denver LLC                          10/5/2020   24981              -     -            -     -                       -     -                     -       -         5,000,000.00     -             5,000,000.00   liquidate the claim.
86 Puschell, Jeffery                                       20–11561 (KBO)            24 Hour Fitness USA, Inc.             10/20/2020   25751              -     -            -     -                       -     -                1,404.00     -                  -       -                 1,404.00   There is no basis for the claim in the Debtor's books and records.
                                                                                                                                                                                                                                                                                                        Claimant has not obtained a judgment on the claim and has not moved to
87 Raj, Christina                                          20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.       10/1/2020    19836              -     -            -     -                       -     -                     -       -                  -      C,U                     -     liquidate the claim.
                                                                                                                                                                                                                                                                                                        Claimant has not obtained a judgment on the claim and has not moved to
88 Ramon, Miranda                                          20–11561 (KBO)            24 Hour Fitness USA, Inc.             10/1/2020    21829              -     -            -     -                       -     -                     -       -                  -      C,U                     -     liquidate the claim.
                                                                                                                                                                                                                                                                                                        Claimant has not obtained a judgment on the claim and has not moved to
89    Ramon, Miranda                                       20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.       10/1/2020    21822              -     -            -     -                       -     -                     -       -                  -      C,U                     -     liquidate the claim.
90    Reed, Cynthia                                        20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.       10/1/2020    21155              -     -            -     -                       -     -                1,500.00     -                  -        -                1,500.00   There is no basis for the claim in the Debtor's books and records.
91    Roberts, Bill                                        20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.       10/1/2020    21523              -     -            -     -                       -     -                1,400.00     -                  -        -                1,400.00   There is no basis for the claim in the Debtor's books and records.
92    Samim, Lila                                          20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.       9/29/2020    21763              -     -            -     -                       -     -                1,440.00     -                  -        -                1,440.00   There is no basis for the claim in the Debtor's books and records.
93    Sandoval Santos, Ana                                 20–11561 (KBO)            24 Hour Fitness USA, Inc.             7/24/2020    2122               -     -            -     -                       -     -                  965.35     -                  -        -                  965.35   There is no basis for the claim in the Debtor's books and records.
94    Satalino, Rachael                                    20–11561 (KBO)            24 Hour Fitness USA, Inc.             10/1/2020    21968              -     -            -     -                       -     -                1,440.00     -                  -        -                1,440.00   There is no basis for the claim in the Debtor's books and records.
                                                                                                                                                                                                                                                                                                        Claimant has not obtained a judgment on the claim and has not moved to
95    Sims, Elma                                           20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.       10/2/2020    24448              -     -            -     -                       -     -                     -       -                  -      C,U                     -     liquidate the claim.
96    Smith, Alison                                        20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.       9/30/2020    20105              -     -            -     -                       -     -                1,318.03     -                  -        -                1,318.03   There is no basis for the claim in the Debtor's books and records.
97    Smith, Alycia Renee                                  20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.       10/1/2020    20067              -     -            -     -                       -     -                  959.98     -                  -        -                  959.98   There is no basis for the claim in the Debtor's books and records.
98    Sohrt, Kiana                                         20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.       7/17/2020    1880               -     -            -     -                       -     -                  980.00     -                  -        -                  980.00   There is no basis for the claim in the Debtor's books and records.
99    Spencer, Cassall                                     20–11561 (KBO)            24 Hour Fitness USA, Inc.             8/6/2020     2535               -     -            -     -                       -     -                1,412.28     -                  -        -                1,412.28   There is no basis for the claim in the Debtor's books and records.
100   Summerlin, Roger                                     20–11561 (KBO)            24 Hour Fitness USA, Inc.             7/14/2020    1514               -     -            -     -                       -     -                1,460.00     -                  -        -                1,460.00   There is no basis for the claim in the Debtor's books and records.
101   Thakkar, Bhakti                                      20–11561 (KBO)            24 Hour Fitness USA, Inc.             7/28/2020    2134               -     -            -     -                       -     -                1,286.00     -                  -        -                1,286.00   There is no basis for the claim in the Debtor's books and records.
                                                                                                                                                                                                                                                                                                        Claimant has not obtained a judgment on the claim and has not moved to
102   Thomas, Ira                                          20–11561 (KBO)            24 Hour Fitness USA, Inc.              9/23/2020   17582              -     -            -     -                       -     -                     -       -         2,500,000.00     -             2,500,000.00   liquidate the claim.
103   Tiedemann, Joseph S.                                 20–11561 (KBO)            24 Hour Fitness USA, Inc.              9/29/2020   21509              -     -            -     -                       -     -                1,332.00     -                  -       -                 1,332.00   There is no basis for the claim in the Debtor's books and records.
104   Viljak, Esther                                       20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.       12/10/2020   27005              -     -            -     -                       -     -                1,290.00     -                  -       -                 1,290.00   There is no basis for the claim in the Debtor's books and records.
105   Villalobos, Araceli                                  20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        9/4/2020    8430               -     -            -     -                       -     -                1,380.00     -                  -       -                 1,380.00   There is no basis for the claim in the Debtor's books and records.
106   Vilsoet, Richard                                     20–11561 (KBO)            24 Hour Fitness USA, Inc.              10/2/2020   23456              -     -            -     -                       -     -                1,019.90     -                  -       -                 1,019.90   There is no basis for the claim in the Debtor's books and records.
107   Volkmer, Dan J                                       20–11561 (KBO)            24 Hour Fitness USA, Inc.              9/30/2020   20918              -     -            -     -                       -     -                1,216.00     -                  -       -                 1,216.00   There is no basis for the claim in the Debtor's books and records.
                                                                                                                                                                                                                                                                                                        Claimant has not obtained a judgment on the claim and has not moved to
108 Wilkerson-Bell, Shilian                                20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.       3/15/2021    27472              -     -            -     -                       -     -                    -       C,U                 -       -                     -      liquidate the claim.
                                                                                                                                                                                                                                                                                                        Claimant has not obtained a judgment on the claim and has not moved to
109 Williams, Andre                                        20–11562 (KBO)            24 Hour Fitness Holdings LLC          10/2/2020    23067              -     -            -     -                       -     -                    -        -           400,000.00     U              400,000.00    liquidate the claim.
                                                                                                                                                                                                                                                                                                        Claimant has not obtained a judgment on the claim and has not moved to
110   Williams, Andre                                      20–11561 (KBO)            24 Hour Fitness USA, Inc.             9/9/2020     11511              -     -            -     -                       -     -                     -       -           400,000.00     U              400,000.00    liquidate the claim.
111   Wu, Michelle                                         20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.       6/26/2020      7                -     -            -     -                       -     -                1,492.00     -                  -       -                1,492.00    There is no basis for the claim in the Debtor's books and records.
112   Young, Marilyn                                       20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.       10/6/2020    25084              -     -            -     -                       -     -                1,494.00     -                  -       -                1,494.00    There is no basis for the claim in the Debtor's books and records.
113   Zacky, Sharon                                        20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.       9/30/2020    20214              -     -            -     -                       -     -                1,290.00     -                  -       -                1,290.00    There is no basis for the claim in the Debtor's books and records.
114   Zeller, Matthew                                      20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.       10/1/2020    20856              -     -            -     -                       -     -                1,500.00     -                  -       -                1,500.00    There is no basis for the claim in the Debtor's books and records.


TOTAL NUMBER OF CLAIMS:                                                        114
TOTAL CLAIM AMOUNT:                                                  31,452,561.95                                                               $         -          $       -           $                 -          $          96,319.55          $   31,356,242.40           $      31,452,561.95




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